 Case 1:15-cr-00228-JMB         ECF No. 82, PageID.430          Filed 06/20/16     Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                  Case No: 1:15-cr-228

v.                                                         HON. JANET T. NEFF

EUGENE CARSON,

               Defendant.
                                         /


               ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed on May 31, 2016 by the

United States Magistrate Judge in this action. The Report and Recommendation was duly served

on the parties, and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1. The Report and Recommendation of the Magistrate Judge (Dkt 70) is approved and

adopted as the opinion of the Court.

       2. Defendant's pleas of guilty are accepted and defendant is adjudicated guilty of the

charges set forth in Counts Two and Four of the Indictment.

       3. The written plea agreement is hereby continued under advisement pending sentencing.




Dated: June 20, 2016                                 /s/Janet T. Neff
                                                    JANET T. NEFF
                                                    United States District Judge
